 USDC IN/ND case 3:20-cv-00974-JD-MGG document 6 filed 01/05/21 page 1 of 1


                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                SOUTH BEND DIVISION

 TERRELL DISMUKES,

               Plaintiff,

                      v.                           CAUSE NO. 3:20-CV-974-JD-MGG

 KYLE LEARCH,

               Defendant.

                                          ORDER

       Terrell Dismukes, a prisoner without a lawyer, filed this lawsuit and must pay

the filing fee as required by 28 U.S.C. § 1915(b). Therefore, the court:

       (1) GRANTS the plaintiff leave to proceed in forma pauperis (ECF 5);

     (2) ORDERS the plaintiff, Terrell Dismukes, IDOC # UNKNOWN, St. Joseph
County Jail # 323500, to immediately pay (and the facility having custody to
automatically remit) $7.78 to the clerk in payment of the initial partial filing fee;

       (3) ORDERS the plaintiff to pay (and the facility having custody to automatically
remit) to the clerk 20% of the money received for each calendar month during which
$10.00 or more is received, until the $350.00 filing fee is paid in full;

       (4) DIRECTS the clerk to create a ledger for receipt of these funds; and

       (5) DIRECTS the clerk to send a copy of this order to each facility where the
plaintiff is housed until the filing fee has been paid in full.

       SO ORDERED on January 5, 2021

                                                  /s/JON E. DEGUILIO
                                                  CHIEF JUDGE
                                                  UNITED STATES DISTRICT COURT
